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                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF LOUISIANA

   JERRY MCKINNEY, SR.,                         )
                                                )
          Plaintiff,                            )
                                                )
          v.                                   )               Case No. 1:19-CV-01339-DDD-JPM
                                                )
   RAPIDES PARISH SHERIFF’S OFFICE and          )
   SHERIFF WILLIAM EARL HILTON,                 )
                                                )
          Defendants.                           )
                                                )
  ______________________________________________)

       DEFENDANTS’ RESPONSE TO PLAINTIFF’S UNDISPUTED FACTS IN SUPPORT
               OF PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT

  1.      The testimony relates to an April 9, 2018 incident. The alleged discrimination was
          November of 2018 well after McKinney returned to baseline.

  2.      The testimony relates to an April 9, 2018 incident. The alleged discrimination was
          November of 2018 well after McKinney returned to baseline.

  3.      The doctor has clarified that Mr. McKinney had a small stroke, returned to baseline in
          May of 2018 and has retracted the July and November 2018 statements.

  4.      The letter was written November 27 of 2018 and the doctor has retracted his statement.

  5.      The time sheets do not reflect working in the kitchen and the time sheets show McKinney
          was being paid for 12 hours while allegedly working 8 hours.

  6.      McKinney was not assigned to the kitchen. He was assigned to corrections working 12
          hour shifts.

  7.      The letter was written and it does reflect that the job description was 12 hours which
          McKinney alleges he could not do.

  8.      Mr. McKinney did write a December 5, 2018 letter seeking a transfer which amounts to
          removal of essential elements of the 12 hour shift which is not authorized under the
          ADA.

  9.      Sheriff Hilton did respond to Mr. McKinney evidencing there was consideration for his
          request although it is now known the request was based on an improperly obtained
          medical letter.
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  10.   Mr. McKinney did write a December 17, 2018 letter seeking a transfer which amounts to
        removal of essential elements of the 12 hour shift which is not authorized under the
        ADA.

  11.   Mr. McKinney was terminated. Removal of essential elements of the 12 hour shift
        which is not authorized under the ADA



                                           Respectfully submitted:

                                           _/S/Timothy R. Richardson_ ______
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